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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MARIA SPENCER, : Civil No. 3:17-cv-2158
Plaintiff - (Judge Mariani)
; .
DAVID VARANO, et al,

Defendants

 

fj ORDER
AND NOW, this gt day of September, 2020, upon consideration of Defendants’
motion (Doc. 83) for summary judgment, and the parties’ respective briefs in support of and
Opposition to said motion, and for the reasons set forth in the accompanying Memorandum,
IT IS HEREBY ORDERED THAT:

1. The motion (Doc. 83) for summary judgment is GRANTED.

2. The Clerk of Court is directed to ENTER judgment in favor of Defendants
David Varano and Janelle Ackerman, and against Plaintiff.

3. The Clerk of Court is directed to TERMINATE all pending motions.
4. The Clerk of Court is further directed to CLOSE this case.

5. Any appeal from this Order is DEEMED frivolous and not taken in good
faith. See 28 U.S.C. § 1915(a)(3). ——

 

C7 Ned ydly
Robert D. Mariani
United States District Judge

 
